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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

                                                                  Case No. 203651
In re Ex Parte Application of JSC UNITED
CHEMICAL COMPANY URALCHEM for an                                  ORDER
Order to Conduct Discovery for Use in Foreign
Proceedings Pursuant to 28 U.S.C. § 1782.


       THIS MATTER having come before the Court on the application of petitioner, JSC

United Chemical Company Uralchem (“Uralchem”), for an Order extending the deadline set in

the Court’s June 29, 2021 Opinion & Order (ECF Nos. 33 & 34) (the “Opinion & Order”) for

filing an amended application pursuant to 28 U.S.C. §1782 (“Section 1782”) for 60 days from

July 29, 2021 to September 27, 2021, as well as for a 30-day extension of Uralchem’s time to

appeal the Opinion & Order, pursuant to FRAP 4(a)(5); and Lawton Lane Chemical Inc. having

consented to this request; and for good cause shown;

       IT IS, on this 22nd day of July, 2021,

       ORDERED that Uralchem’s deadline to file an amended Section 1782 application is

hereby extended to September 27, 2021; and if it is further

       ORDERED that Uralchem’s time to file any appeal from the Opinion & Order is hereby

extended for 30 days until August 28, 2021.

                                                SO ORDERED.


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                                                CLAIRE C. CECCHI, U.S.D.J.
